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                    IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

 LONE STAR TECHNOLOGICAL                          §
 INNOVATIONS, LLC,                                §
                                                  §
                       Plaintiff,                 §
                                                  §      Case No. 6:19-cv-00059-RWS
               v.                                 §
                                                  §
 ASUSTEK COMPUTER, INC,                           §
                                                  §
                       Defendant.                 §
                                                  §
                                                  §

                                NOTICE OF APPEARANCE

       Please take notice that attorney Daniel L. Schmid of the law firm CARTER ARNETT PLLC

is appearing as counsel of record for Plaintiff Lone Star Technological Innovations, LLC. Mr.

Schmid hereby requests that all pleadings, correspondence, materials, and electronic notices

required to be served in the above-entitled and numbered cause be copied to and served upon him

at dschmid@carterarnett.com.

Dated: April 7, 2022                                  Respectfully Submitted,

                                                      /s/ Daniel L. Schmid
                                                      Daniel L. Schmid
                                                      Texas State Bar No. 24093118
                                                      CARTER ARNETT PLLC
                                                      8150 N. Central Expressway
                                                      Suite 500
                                                      Dallas, Texas 75206
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                                                      Facsimile No. (214) 550-8185

                                                      ATTORNEY FOR PLAINTIFF
                                                      LONE STAR TECHNOLOGICAL
                                                      INNOVATIONS, LLC




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                                CERTIFICATE OF SERVICE
       This is to certify that on April 7, 2022, a true and correct copy of the foregoing instrument

was delivered to all counsel of record through the court electronic filing system.


                                                     /s/ Daniel L. Schmid
                                                     Daniel L. Schmid




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